       Case 1:12-cv-00800-JB-JHR Document 222 Filed 07/06/18 Page 1 of 2



                       IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEW MEXICO


PUEBLO OF JEMEZ, a federally           )
recognized Indian tribe,               )                      Case No. 1:12-cv-800 (JB)(JHR)
                                       )
            Plaintiff,                 )
                                       )
v.                                     )
                                       )
UNITED STATES OF AMERICA,              )                     CERTIFICATE OF SERVICE
                                       )
            Defendant,                 )
                                       )
and                                    )
                                       )
NEW MEXICO GAS COMPANY,                )
                                       )
            Defendant-in Intervention. )
____________________________________)


       Plaintiff hereby certifies that on July 3, 2018, Plaintiff Pueblo of Jemez’s Second

Supplemental Answers and Objections to Defendant United States’ Interrogatories, and a copy of

this Certificate of Service were served electronically on the following counsel of record:

Matthew Marinelli, Matthew.Marinelli@usdoj.gov
Peter Dykema, Peter.Dykema@usdoj.gov
Jacqueline Leonard, Jacqueline.Leonard@usdoj.gov
Attorneys for Defendant United States

Kirk R. Allen, kallen@mstlaw.com
Attorneys for Defendant-in-Intervention NMGC




                                                 1
Case 1:12-cv-00800-JB-JHR Document 222 Filed 07/06/18 Page 2 of 2



                             Respectfully Submitted,

                             /s/ Christina S. West
                             Christina S. West
                             Randolph H. Barnhouse
                             Barnhouse Keegan Solimon & West LLP
                             7424 4th Street NW
                             Los Ranchos de Albuquerque, NM 87107
                             Phone: (505) 842-6123
                             Fax: (505) 842-6124
                             E-mail: cwest@indiancountrylaw.com
                                      dbarnhouse@indiancountrylaw.com
                             Counsel for Plaintiff




                                2
